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  7

  8                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
  9

 10   ALYSON GREEN, an individual;             Case No.: 2:20-cv-05728-AB-(JCx)
      MICHAEL JONES, an individual;
 11   LAWRENCE KIM, an individual;             JOINT NOTICE OF SETTLEMENT
 12   EDUARD KOGAN, an individual;             AS TO DEFENDANT GREYSTAR
      DAISY LEE, an individual; BOBOLA         CALIFORNIA, INC.
 13   OYELEKE, an individual; JOSEPH
 14   ROWE, an individual; and VELI
      YASIN an individual,
 15

 16   Plaintiffs,
 17          v.
 18
      GREYSTAR CALIFORNIA, INC., a
 19   Delaware limited liability company;
 20   REALPAGE, INC., a Delaware
      corporation; and DOES 1-20 inclusive,
 21

 22                 Defendants.
 23

 24         TO THE HONORABLE COURT AND TO ALL PARTIES AND THEIR
 25 COUNSEL OF RECORD:

 26         PLEASE TAKE NOTICE that all Plaintiffs ALYSON GREEN, MICHAEL
 27 JONES, LAWRENCE KIM, EDUARD KOGAN, DAISY LEE, BOBOLA

 28 OYELEKE, JOSEPH ROWE, and VELI YASIN, and, Defendant Greystar California,


                    NOTICE OF SETTLEMENT AS TO GREYSTAR CALIFORNIA, INC.
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  1 Inc. (“Greystar” individually, and Plaintiffs and Defendant collectively as the

  2 “Parties”), by and through their counsel of record, have reached a settlement to resolve

  3 the outstanding claims against Greystar in this case.

  4         The Parties anticipate that the performance of the terms of the settlement
  5 agreement will be completed within ninety (90) days of the date of this notice, at or

  6 before which time the Parties shall file a Stipulation for Dismissal, with prejudice, of

  7 the claims asserted against Greystar.

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  9                                    LAW OFFICE OF JOSEPH B. OLLINGER PC
 10

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                      th
 12 Dated: November 12 , 2020          By: _/S/ JOE OLLINGER______________________
                                            Joe Ollinger, attorney for Plaintiffs
 13

 14                                    GORDON REES SCULLY MANSUKHANI, LLP
 15

 16
      Dated: November 12, 2020         By: /s/ John P. Cogger
 17
                                           Craig J. Mariam
 18                                        John P. Cogger
                                           Attorneys for Defendant
 19
                                           Greystar California, Inc.
 20

 21

 22 Pursuant to LR 5-4.3.4, the filer certifies that all other signatories listed, and on
      whose behalf the filing is submitted, concur in the filing’s content and have
 23
      authorized the filing.
 24

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                     NOTICE OF SETTLEMENT AS TO GREYSTAR CALIFORNIA, INC.
